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    NJID 793711
    PHELAN HALLINAN DIAMOND & JONES, PC
    400 Fellowship Road, Suite 100
    Mt. Laurel, NJ 08054
    856-813-5500
    Attorneys for PHH MORTGAGE CORPORATION AS SERVICER FOR U.S. BANK
    NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA FUNDING
    CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-8T2

                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW JERSEY

IN RE:                                            : CHAPTER 13
         THOMAS M SABO
         JOANN D SABO A/K/A JOANN                 : CASE NO. 17-19534-MBK
         GEADA
                                                  : NOTICE OF MOTION FOR
     Debtors                                      : RELIEF FROM AUTOMATIC
                                                  : STAY

JOANN D SABO A/K/A JOANN GEADA                      YAKOV RUDIKH, Esquire
1 GARRETSON DRIVE                                   223 Rt. 18 South, SUITE 108
FRANKLIN PARK, NEW JERSEY 08823                     E. BRUNSWICK, NJ 08816

THOMAS M SABO                                       ALBERT RUSSO
1 GARRETSON DRIVE                                   CN 4853
FRANKLIN PARK, NEW JERSEY 08823                     TRENTON, NJ 08650-4853

                                                    U.S. TRUSTEE.
                                                    ONE NEWARK CENTER STE 2100
                                                    NEWARK, NJ 07102


                 PLEASE TAKE NOTICE that on 08/15/2017, at 9:30 AM or as soon as counsel
         may be heard, the undersigned attorney for the secured creditor will move before the United
         States Bankruptcy Court, TRENTON, NJ 08608, for an Order Vacating the Automatic Stay
         with respect to property located at 1 GARRETSON DRIVE, FRANKLIN PARK, NEW
         JERSEY 08823and allowing PHH MORTGAGE CORPORATION AS SERVICER FOR
         U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA
         FUNDING CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
         2006-8T2 to continue its contractual remedies or other remedies that may be available under
         state law, by reason of failure of the debtor to make regular monthly mortgage payments
         outside the Chapter 13 Plan.
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               PLEASE TAKE FURTHER NOTICE, that in support of the within Motion, the
       Movant will rely upon the Certification in Support and the proposed Order submitted
       herewith, as well as, oral arguments, if necessary. Pursuant to D.N.J. LBR 9013-2, Movant
       states that no brief or memorandum of law is necessary because of the absence of novel or
       complex questions of law. However, if responsive papers are filed in opposition to the
       Motion, the Movant reserves the right to respond to any issues of law raised therein in the
       form of a brief or a memorandum of law.


Dated: July 18, 2017
                                                /s/ Nicholas V. Rogers
                                                Nicholas V. Rogers, Esq.
                                                Phelan Hallinan Diamond & Jones, PC
                                                400 Fellowship Road, Suite 100
                                                Mt. Laurel, NJ 08054
                                                Tel: 856-813-5500 Ext. 42689
                                                Fax: 856-813-5501
                                                Email: nicholas.rogers@phelanhallinan.com
